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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION



 Luminati Networks Ltd.,

                Plaintiff,                                        Civil Action No.
                                                                2:18-cv-00299-JRG
                v.

 UAB Tesonet and UAB Metacluster LT,

                Defendants.



                  UAB METACLUSTER LT’S MOTION TO DISMISS
               FOR INSUFFICIENT PROCESS, INSUFFICIENT SERVICE
               OF PROCESS, AND LACK OF PERSONAL JURISDICTION

       Defendant UAB Metacluster LT (“Metacluster”) files this Motion to Dismiss for Insuffi-

cient Process, Insufficient Service of Process, and Lack of Personal Jurisdiction,1 and respectfully

shows as follows:

       1.      Statement of the Issue: Whether the Court should dismiss Luminati’s Second

Amended Complaint as to Metacluster due to insufficient process, insufficient service of process,

and lack of personal jurisdiction.

       2.      On July 23, 2019, the Court granted (in relevant part) Plaintiff Luminati Networks

Ltd.’s (“Luminati”) Opposed Motion for Leave to Amend Complaint to Add Metacluster as a Party

(the “Motion for Leave”). See Order, ECF No. 92. Although both Luminati and Defendant UAB



   1
        Metacluster understands and appreciates that the Court has found that Metacluster has been
effectively served and, as such, has already addressed the issue presented in this Motion. See Order,
ECF No. 92 at 2. Metacluster respectfully files this Motion (i) because no party previously briefed
the service issue and (ii) to preserve any error with the Court’s finding. Per the Court’s Order,
Metacluster is answering the Second Amended Complaint today (subject to this Motion).

                                                 1
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Teso LT (“Teso”) contemplated that, if the Court granted leave to add Metacluster as a party,

Luminati would serve Metacluster (a foreign entity) via the Hague Convention,2 the Court found

that service of the complaint on the original Defendant UAB Tesonet (“Tesonet”) constituted ef-

fective service on Metacluster as of and from the date that Metacluster was subsequently created.

Id. at 2. As such, the Court found that separate, additional service was not required as to Metaclus-

ter in this case, and ordered Metacluster to answer the Second Amended Complaint within seven

days (i.e., on or before July 30, 2019). Id.

       3.        It is Luminati’s burden to establish the validity of service of process. See, e.g.,

Carimi v. Royal Carribean Cruise Line, Inc., 959 F.2d 1344, 1346 (5th Cir. 1992) (“once the va-

lidity of service of process has been contested, the plaintiff bears the burden of establishing its

validity”); Coleman v. Bank of New York Mellon, 969 F. Supp. 2d 736, 744 (N.D. Tex. 2013) (“The

plaintiff bears the burden of proof regarding sufficiency of the process.”).

       4.        To date, Luminati has not served Metacluster with the complaint (whether the Sec-

ond Amended Complaint, or any earlier complaint) or a summons. See Declaration of Julius Čer-

niauskas, ¶ 6.

       5.        Metacluster, an entity organized under the laws of Lithuania, is a separate entity

from Tesonet and Teso. See Černiauskas Decl., ¶¶ 2, 5; Dickson Marine Inc. v. Panalpina, Inc.,

179 F.3d 331, 338 (5th Cir. 1999) (discussing “presumption of corporate separateness”); Ericsson

Inc. v. D-Link Corp., 10-CV-473, 2013 WL 12044890, at *4 (E.D. Tex. June 20, 2013) (“It is

bedrock corporate law that separate corporate entities are presumed separate[.]”). Accordingly, to




   2
     See ECF No. 74-3, Luminati’s Proposed Second Am. Compl., ¶ 3 (“Metacluster may be
served pursuant to the provisions of the Hague Service Convention”); ECF No. 89, Luminati’s
Second Am. Compl., ¶ 3 (same); ECF No. 83, Teso’s Resp. Br. at 4 (estimating when service
through the Hague Convention would occur as to Metacluster, if the Court granted leave to amend).
                                                  2
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properly join Metacluster as a defendant in this case, Luminati must serve Metacluster with the

Second Amended Complaint and summons. See Fed. R. Civ. P. 4(b) (summons “must be issued

for each defendant to be served”), 4(c)(1) (“A summons must be served with a copy of the com-

plaint. The plaintiff is responsible for having the summons and complaint served[.]”), 4(h) (spec-

ifying required procedures when serving a foreign corporation).3

       6.      When Luminati served Teso with the original Complaint (on October 1, 2018), see

Ex. B (agreeing to service date of October 1, 2018), Metacluster did not exist, see Ex. A (Meta-

cluster’s November 15, 2018 Articles of Association). Accordingly, service could not have been

effectuated on Metacluster via the service of the original Complaint. And, prior to the Second

Amended Complaint, which Luminati has never served on Metacluster, none of Luminati’s prior

complaints alleged any claims against Metacluster. ECF No. 1, Compl. for Patent Infringement;

ECF No. 15, Am. Compl. for Patent Infringement. Given this, the service of Luminati’s prior

complaints did not and could not constitute service on Metacluster, as Metacluster was not a named

defendant with respect to such complaints.

       7.      Luminati must serve the Second Amended Complaint separately on Metacluster

even assuming that Metacluster is a successor-in-interest with respect to an accused instrumental-

ity. See, e.g., Paulsen v. Abbott Labs., 15-CV-4144, 2018 WL 1508532, at *7 (N.D. Ill. Mar. 27,

2018) (“Plaintiff does maintain that she effectively served TAP, arguing that Plaintiff’s proper

service on TPNA gives effect to service on TAP, because TAP dissolved into TPNA. But Plaintiff



   3
        See also McMasters v. United States, 260 F.3d 814, 817 (7th Cir. 2001) (“[N]othing in the
Federal Rules of Civil Procedure allows a judge to excuse service altogether. Actual notice to the
defendant is insufficient; the plaintiff must comply with the directives of Rule 4.”); Raeth v. Bank
One, 05-CV-02644, 2008 WL 410596, at *3 (D. Colo. Feb. 13, 2008) (“Generally, service on a
parent, subsidiary, cosubsidiary, or affiliate of a corporate defendant is not service on the defend-
ant[.]”) (citing and quoting Am. Jur. 2d § 255 (2007)).

                                                 3
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cannot effectively serve one corporation by serving a completely different corporation.”) (record

citation omitted) (emphasis added); Zest IP Holdings, LLC v. Implant Direct Mfg., LLC, 10-CV-

0541, 2013 WL 12064538, at *2 (S.D. Cal. Jan. 23, 2013) (denying plaintiff’s motion to join suc-

cessor entity as party to pending litigation due to “Plaintiff’s failure to properly serve [the succes-

sor entity] as required by Rule 25”; “[a]s [the successor entity] is a nonparty, Plaintiff must provide

service of process according to Rule 4, which requires summons to be served with a complaint”;

“the Court finds that service of process on Defendant Implant Direct [the original defendant] is

insufficient to satisfy service upon IDSI [the successor entity]”) (emphasis added); L&M Const.

Chemicals v. Dayton Sure-Grip & Shore Co., 445 F. Supp. 280, 281-282 (D. Neb. 1978) (dismiss-

ing defendant from case after rejecting successor-in-interest jurisdictional theory because defend-

ant had not “waived its right to object to service of process” on jurisdictional grounds).

       8.      The Hague Convention also requires Luminati to serve Metacluster, a foreign entity

organized under the laws of Lithuania, via the procedures set forth in the Hague Service Conven-

tion.4 See, e.g., Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil

or Commercial Matters, available at https://www.hcch.net/en/instruments/conventions/full-

text/?cid=17 (Article 3 stating, “The authority or judicial officer competent under the law of the

State in which the documents originate shall forward to the Central Authority of the State ad-

dressed a request conforming to the model annexed to the present Convention[.]”).

       9.      Further, to the extent a relevant interest (e.g., one of the accused instrumentalities

in this case) was transferred to Metacluster such that Metacluster should be joined as a party,




   4
        Lithuania and the United States are contracting parties to the Hague Service Convention.
See https://www.hcch.net/en/states/hcch-members/details1/?sid=50 (listing Lithuania as contract-
ing party); https://www.hcch.net/en/states/hcch-members/details1/?sid=76 (listing United States
as contracting party).
                                                  4
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Federal Rule of Civil Procedure 25(c) required Luminati to serve its Motion for Leave on Meta-

cluster “as provided in Rule 4.” See Fed. R. Civ. P. 25(c), 25(a)(3), 4. But Luminati did not serve

its Motion for Leave on Metacluster. See Černiauskas Decl., ¶ 7.

          10.   For these reasons, the Court should grant this Motion and dismiss Luminati’s Sec-

ond Amended Complaint as to Metacluster for insufficient process and/or insufficient service of

process under Rule 12(b)(4)-(5).5

          11.   Finally, because Luminati has not served Metacluster with any complaint or sum-

mons, the Court should also dismiss this case as to Metacluster for lack of personal jurisdiction.

See, e.g., Omni Capital Intern., Ltd. v. Rudolf Wolff & Co., 484 U.S. 97, 104 (1987) (“Before a

federal court may exercise personal jurisdiction over a defendant, the procedural requirement of

service of summons must be satisfied.”); Maiz v. Virani, 311 F.3d 334, 340 (5th Cir. 2002) (same);

Nuance Communications, Inc. v. Abbyy Software House, 626 F.3d 1222, 1236 (Fed. Cir. 2010)

(same).




   5
        “The difference between Rule 12(b)(4) and 12(b)(5) is not always clear. Objections under
Rule 12(b)(4) concern the form of process rather than the manner or method of its service. A Rule
12(b)(4) motion challenges noncompliance with the provisions of Rule 4(b) or any applicable pro-
vision incorporated by Rule 4(b) that deals specifically with the content of a summons. A Rule
12(b)(5) motion, on the other hand, challenges the method of service—or lack thereof—of the
summons and complaint.” Lau v. Fernandez, 16-CV-00042, 2017 WL 758488, at *2 (D. Guam
Feb. 27, 2017) (citations omitted); see also Gartin v. Par Pharm. Companies, Inc., 289 Fed. App’x
688, 692 n.3 (5th Cir. 2008); Campbell v. Rutherford County, 17-CV-00797, 2018 WL 4030568,
at *3 (M.D. Tenn. Aug. 23, 2018). Because Luminati has not attempted to serve any process (i.e.,
there was neither a form of process nor a method of service), Metacluster believes that moving to
dismiss under Rule 12(b)(4) and Rule 12(b)(5) is appropriate.
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Dated: July 30, 2019               Respectfully submitted,



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            CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       The undersigned certifies that Exhibit A to the foregoing document was filed pursuant to
this Case’s Protective Order and Local Rule CV-5(7).




                                            STEVEN CALLAHAN


                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in compli-
ance with Local Rule CV-5(a) on July 30, 2019. As such, this document was served on all counsel
who are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).




                                            STEVEN CALLAHAN




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